                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                         )
                                                  )
                                Plaintiff,        )
                                                  )
         v.                                       )
                                                  )   CASE NO. 07-00252-06-CR-W-NKL
RASHIRA LEWIS,                                    )
                                                  )
                                Defendant.        )


                               REPORT AND RECOMMENDATION
                                CONCERNING PLEA OF GUILTY

         The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local

Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Count 5 of the Indictment.

After cautioning and examining the Defendant under oath concerning each of the subjects

mentioned in Fed.R.Crim.P. 11, I determined that the guilty plea is knowledgeable and voluntary

as to Count 5 of the Indictment and that the offense charged is supported by an independent basis

in fact containing each of the essential element of such offense. A record was made of the

proceedings and a transcript is available. I therefore recommend that the plea of guilty be accepted

and that the Defendant be adjudged guilty and have sentence imposed accordingly.

         Failure to file written objections to this Report and Recommendation within ten (10) days

from the date of its service shall bar an aggrieved party from attacking such Report and

Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                       s/ JOHN MAUGHMER
                                                      JOHN MAUGHMER
                                                      United States Magistrate Judge
Dated:        April 16, 2008




         Case 4:07-cr-00252-BP          Document 153       Filed 04/16/08      Page 1 of 1
